Filed40
      02/07/13                                                                                                                                 Case 13-21651                                                                                                     Doc 1
                                                                       B1 (Official Form 1) (12/11)
                                                                                                             United States Bankruptcy Court
                                                                                                              Eastern District of California                                                                            Voluntary Petition
                                                                        Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                        Cowley, Beverly Jeanette
                                                                        All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                        (include married, maiden, and trade names):                                             (include married, maiden, and trade names):



                                                                        Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                        (if more than one, state all):     8835                                                 (if more than one, state all):

                                                                        Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                        1625 Wood Creek Dr #33
                                                                        Fairfiled, CA
                                                                                                                               ZIPCODE 94534                                                                                  ZIPCODE
                                                                        County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                        Solano
                                                                        Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                               ZIPCODE                                                                                        ZIPCODE
                                                                        Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                              ZIPCODE
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                           Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                       (Form of Organization)                                   (Check one box.)                                   the Petition is Filed (Check one box.)
                                                                                          (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                          Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                          See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
                                                                          Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                          Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                          Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                          check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                     Other                                                                      (Check one box.)
                                                                                        Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                                                                        Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                                                                        __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                        Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                        regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                        __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                            Filing Fee (Check one box)                                                              Chapter 11 Debtors
                                                                                                                                               Check one box:
                                                                          Full Filing Fee attached
                                                                                                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                                 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                          Filing Fee to be paid in installments (Applicable to individuals
                                                                          only). Must attach signed application for the court’s                Check if:
                                                                          consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                          except in installments. Rule 1006(b). See Official Form 3A.              than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
                                                                                                                                                 ----------------------------------------------------------------
                                                                          Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                          only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                          consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                        Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                           Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                           distribution to unsecured creditors.
                                                                       Estimated Number of Creditors

                                                                       1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                          5,000          10,000           25,000              50,000              100,000           100,000
                                                                       Estimated Assets

                                                                       $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                       $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                       Estimated Liabilities

                                                                       $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                       $50,000 $100,000 $500,000      $1 million $10 million                     1 million
                                                                                                                                to $50 million $100        to $500 million to $1 billion $1 billion
Filed 02/07/13                                                                                                                           Case 13-21651                                                                                Doc 1
                                                                       B1 (Official Form 1) (12/11)                                                                                                                           Page 2
                                                                       Voluntary Petition                                                              Name of Debtor(s):
                                                                        (This page must be completed and filed in every case)                          Cowley, Beverly Jeanette

                                                                                             All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                        Location                                                                       Case Number:                              Date Filed:
                                                                        Where Filed:None
                                                                        Location                                                                       Case Number:                              Date Filed:
                                                                        Where Filed:
                                                                           Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                        Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                        None
                                                                        District:                                                                      Relationship:                             Judge:


                                                                                                       Exhibit A                                                                            Exhibit B
                                                                        (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                        10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                        Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                        requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                       chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                            Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                       that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                       X   /s/ Richard E.A. Dwyer                                         2/07/13
                                                                                                                                                           Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                               Exhibit C
                                                                        Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                        or safety?
                                                                            Yes, and Exhibit C is attached and made a part of this petition.
                                                                            No

                                                                                                                                               Exhibit D
                                                                        (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                        If this is a joint petition:
                                                                                  Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                          Information Regarding the Debtor - Venue
                                                                                                                                      (Check any applicable box.)
                                                                                Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                                There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                                Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                                or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                                in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                  (Check all applicable boxes.)
                                                                                Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                              (Name of landlord that obtained judgment)

                                                                                                                                          (Address of landlord)
                                                                                Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                                the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                filing of the petition.
                                                                                                                                                  2
                                                                                Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
Filed 02/07/13                                                                                                                                  Case 13-21651                                                                                                 Doc 1
                                                                       B1 (Official Form 1) (12/11)                                                                                                                                                     Page 3
                                                                       Voluntary Petition                                                                       Name of Debtor(s):
                                                                        (This page must be completed and filed in every case)                                   Cowley, Beverly Jeanette

                                                                                                                                                        Signatures
                                                                                       Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
                                                                        I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this
                                                                        petition is true and correct.                                                           petition is true and correct, that I am the foreign representative of a debtor
                                                                        [If petitioner is an individual whose debts are primarily consumer debts                in a foreign proceeding, and that I am authorized to file this petition.
                                                                        and has chosen to file under Chapter 7] I am aware that I may proceed                   (Check only one box.)
                                                                        under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                     I request relief in accordance with chapter 15 of title 11, United
                                                                        the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                     States Code. Certified copies of the documents required by 11 U.S.C.
                                                                        chapter 7.
                                                                                                                                                                     § 1515 are attached.
                                                                        [If no attorney represents me and no bankruptcy petition preparer signs
                                                                        the petition] I have obtained and read the notice required by 11 U.S.C. §                    Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                        342(b).                                                                                      chapter of title 11 specified in this petition. A certified copy of the
                                                                        I request relief in accordance with the chapter of title 11, United States                   order granting recognition of the foreign main proceeding is attached.
                                                                        Code, specified in this petition.
                                                                                                                                                                X
                                                                        X   /s/ Beverly Jeanette Cowley                                                              Signature of Foreign Representative
                                                                            Signature of Debtor                           Beverly Jeanette Cowley
                                                                        X                                                                                            Printed Name of Foreign Representative
                                                                            Signature of Joint Debtor
                                                                            (707) 430-2644                                                                           Date
                                                                            Telephone Number (If not represented by attorney)
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                            February 7, 2013
                                                                            Date

                                                                                                        Signature of Attorney*                                                   Signature of Non-Attorney Petition Preparer
                                                                                                                                                                I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                        X   /s/ Richard E.A. Dwyer                                                              preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                            Signature of Attorney for Debtor(s)                                                 compensation and have provided the debtor with a copy of this document
                                                                                                                                                                and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                             Richard
                                                                            Law      E.A.ofDwyer
                                                                                 Office     Richard Dwyer                                                       110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                             Law Office of Carl A. Lux                                                          pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                            282891001-0000
                                                                                  Cochran St, #350                                                              chargeable by bankruptcy petition preparers, I have given the debtor
                                                                            Simi Valley, CA 93065                                                               notice of the maximum amount before preparing any document for filing
                                                                            State Bar ID: 143883                                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                            Email: attorneyricharddwyer@gmail.com                                               section. Official Form 19 is attached.
                                                                            Phone: 747-224-7956
                                                                                                                                                                Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                                Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                                Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                                bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                            February 7, 2013
                                                                            Date
                                                                        *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a           Address
                                                                        certification that the attorney has no knowledge after an inquiry that the
                                                                        information in the schedules is incorrect.

                                                                                    Signature of Debtor (Corporation/Partnership)
                                                                        I declare under penalty of perjury that the information provided in this                X
                                                                        petition is true and correct, and that I have been authorized to file this                   Signature
                                                                        petition on behalf of the debtor.
                                                                                                                                                                     Date
                                                                        The debtor requests relief in accordance with the chapter of title 11,                  Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                        United States Code, specified in this petition.                                         person, or partner whose social security number is provided above.

                                                                                                                                                                Names and Social-Security numbers of all other individuals who prepared or
                                                                        X                                                                                       assisted in preparing this document unless the bankruptcy petition preparer is
                                                                            Signature of Authorized Individual                                                  not an individual:

                                                                                                                                                                If more than one person prepared this document, attach additional sheets
                                                                            Printed Name of Authorized Individual
                                                                                                                                                                conforming to the appropriate official form for each person.
                                                                                                                                                                A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                            Title of Authorized Individual                                                      and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                                imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                            Date
                                                                                                                                                            3
Filed 02/07/13                                                                                                                     Case 13-21651                                                                   Doc 1
                                                                       B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                         United States Bankruptcy Court
                                                                                                                          Eastern District of California

                                                                       IN RE:                                                                                           Case No.
                                                                       Cowley, Beverly Jeanette                                                                         Chapter 7
                                                                                                                  Debtor(s)

                                                                                                EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                              CREDIT COUNSELING REQUIREMENT
                                                                       Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                       do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                       whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                       and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                       to stop creditors’ collection activities.
                                                                       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                       one of the five statements below and attach any documents as directed.
                                                                          1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                       the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                       performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                       certificate and a copy of any debt repayment plan developed through the agency.
                                                                          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                       the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                       performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                       a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                       the agency no later than 14 days after your bankruptcy case is filed.
                                                                          3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                       days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                       requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                       you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                       of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                       case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                       also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                       counseling briefing.
                                                                         4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                       motion for determination by the court.]
                                                                              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                              of realizing and making rational decisions with respect to financial responsibilities.);
                                                                              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                              participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                              Active military duty in a military combat zone.
                                                                          5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                       does not apply in this district.
                                                                       I certify under penalty of perjury that the information provided above is true and correct.


                                                                       Signature of Debtor: /s/ Beverly Jeanette Cowley
                                                                       Date: February 7, 2013
                                                                                                                                             4
FiledB602/07/13
        Summary (Form 6 - Summary) (12/07)                                                                                                      Case 13-21651                                                                                     Doc 1
                                                                                                                                     United States Bankruptcy Court
                                                                                                                                      Eastern District of California

                                                                        IN RE:                                                                                                                Case No.
                                                                        Cowley, Beverly Jeanette                                                                                              Chapter 7
                                                                                                                             Debtor(s)

                                                                                                                                      SUMMARY OF SCHEDULES
                                                                        Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                        provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                        determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                        a case under chapter 7, 11, or 13.

                                                                                                                                    ATTACHED           NUMBER OF
                                                                         NAME OF SCHEDULE
                                                                                                                                     (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                         A - Real Property                                               Yes                          1 $                  0.00


                                                                         B - Personal Property                                           Yes                          3 $            3,680.00


                                                                         C - Property Claimed as Exempt                                  Yes                          1
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                         D - Creditors Holding Secured Claims                            Yes                          1                           $                 0.00


                                                                         E - Creditors Holding Unsecured Priority
                                                                                                                                         Yes                          1                           $                 0.00
                                                                             Claims (Total of Claims on Schedule E)

                                                                         F - Creditors Holding Unsecured
                                                                                                                                         Yes                          5                           $          16,681.00
                                                                             Nonpriority Claims

                                                                         G - Executory Contracts and Unexpired
                                                                                                                                         Yes                          1
                                                                             Leases


                                                                         H - Codebtors                                                   Yes                          1


                                                                         I - Current Income of Individual
                                                                                                                                         Yes                          1                                                     $             886.00
                                                                             Debtor(s)

                                                                         J - Current Expenditures of Individual
                                                                                                                                         Yes                          1                                                     $           1,451.00
                                                                             Debtor(s)


                                                                                                                                         TOTAL                      16 $             3,680.00 $              16,681.00




                                                                                                                                                             5
FiledForm
      02/07/13
          6 - Statistical Summary (12/07)                                                                                        Case 13-21651                                                            Doc 1
                                                                                                                        United States Bankruptcy Court
                                                                                                                         Eastern District of California

                                                                        IN RE:                                                                                       Case No.
                                                                        Cowley, Beverly Jeanette                                                                     Chapter 7
                                                                                                                 Debtor(s)

                                                                               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                        If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                        101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                           Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                        information here.

                                                                        This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                        Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                         Type of Liability                                                                                       Amount

                                                                         Domestic Support Obligations (from Schedule E)                                                    $         0.00

                                                                         Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $         0.00
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                         Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                         disputed or undisputed)                                                                           $         0.00

                                                                         Student Loan Obligations (from Schedule F)                                                        $         0.00

                                                                         Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                         Schedule E                                                                                        $         0.00

                                                                         Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $         0.00

                                                                                                                                                              TOTAL        $         0.00


                                                                         State the following:

                                                                         Average Income (from Schedule I, Line 16)                                                         $       886.00

                                                                         Average Expenses (from Schedule J, Line 18)                                                       $     1,451.00

                                                                         Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                         Line 20 )                                                                                         $       886.00


                                                                         State the following:

                                                                         1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                       $          0.00

                                                                         2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $         0.00

                                                                         3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                         $          0.00

                                                                         4. Total from Schedule F                                                                                           $    16,681.00

                                                                         5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       $    16,681.00




                                                                                                                                         6
FiledB6A
      02/07/13
         (Official Form 6A) (12/07)                                                                                                               Case 13-21651                                                                                                       Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                          Case No.
                                                                                                                                   Debtor(s)                                                                                                    (If known)

                                                                                                                                   SCHEDULE A - REAL PROPERTY
                                                                           Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                        property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                        married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                        or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                          Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                           If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                        interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                          If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                          CURRENT VALUE OF
                                                                                                                                                                                                                         DEBTOR'S INTEREST IN
                                                                                                                                                                      NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                     INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                          SECURED CLAIM OR
                                                                                                                                                                                                                              EXEMPTION



                                                                        None
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                         TOTAL                                          0.00
                                                                                                                                                                                                                        (Report also on Summary of Schedules)
                                                                                                                                                              7
FiledB6B
      02/07/13
         (Official Form 6B) (12/07)                                                                                                              Case 13-21651                                                                                                     Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                         Case No.
                                                                                                                                   Debtor(s)                                                                                               (If known)

                                                                                                                              SCHEDULE B - PERSONAL PROPERTY
                                                                           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                        appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                        and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                        “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                        in Schedule C - Property Claimed as Exempt.

                                                                          Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                          If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                        held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                        not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                        HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                           OR COMMUNITY
                                                                                                                                                                                                                                                 CURRENT VALUE OF
                                                                                                                          N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                          O                                                                                                                      PROPERTY WITHOUT
                                                                                       TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                          N                                                                                                                        DEDUCTING ANY
                                                                                                                          E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                     EXEMPTION




                                                                           1. Cash on hand.                                   Cash on hand                                                                                                                    10.00
                                                                           2. Checking, savings or other financial            Checking Account - Chase Bank                                                                                                 120.00
                                                                              accounts, certificates of deposit or
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                              shares in banks, savings and loan,
                                                                              thrift, building and loan, and
                                                                              homestead associations, or credit
                                                                              unions, brokerage houses, or
                                                                              cooperatives.
                                                                           3. Security deposits with public utilities,    X
                                                                              telephone companies, landlords, and
                                                                              others.
                                                                           4. Household goods and furnishings,                Household goods and furnishings                                                                                             1,500.00
                                                                              include audio, video, and computer
                                                                              equipment.
                                                                           5. Books, pictures and other art objects,          Books & pictures                                                                                                              400.00
                                                                              antiques, stamp, coin, record, tape,
                                                                              compact disc, and other collections or
                                                                              collectibles.
                                                                           6. Wearing apparel.                                Clothing                                                                                                                      250.00
                                                                           7. Furs and jewelry.                               Jewelry                                                                                                                     1,200.00
                                                                           8. Firearms and sports, photographic,              Sports & hobby equip.                                                                                                         200.00
                                                                              and other hobby equipment.
                                                                           9. Interest in insurance policies. Name        X
                                                                              insurance company of each policy and
                                                                              itemize surrender or refund value of
                                                                              each.
                                                                         10. Annuities. Itemize and name each             X
                                                                             issue.
                                                                         11. Interests in an education IRA as             X
                                                                             defined in 26 U.S.C. § 530(b)(1) or
                                                                             under a qualified State tuition plan as
                                                                             defined in 26 U.S.C. § 529(b)(1).
                                                                             Give particulars. (File separately the
                                                                             record(s) of any such interest(s). 11
                                                                             U.S.C. § 521(c).)
                                                                         12. Interests in IRA, ERISA, Keogh, or           X
                                                                             other pension or profit sharing plans.
                                                                             Give particulars.
                                                                         13. Stock and interests in incorporated          X
                                                                             and unincorporated businesses.
                                                                             Itemize.
                                                                         14. Interests in partnerships or joint           X
                                                                             ventures. Itemize.


                                                                                                                                                              8
FiledB6B
      02/07/13
         (Official Form 6B) (12/07) - Cont.                                                                                               Case 13-21651                                                                                  Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                             Case No.
                                                                                                                              Debtor(s)                                                                          (If known)

                                                                                                                            SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                   (Continuation Sheet)




                                                                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                        N                                                                                             DEBTOR'S INTEREST IN
                                                                                                                        O                                                                                              PROPERTY WITHOUT
                                                                                      TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                        N                                                                                                DEDUCTING ANY
                                                                                                                        E                                                                                              SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION




                                                                         15. Government and corporate bonds and         X
                                                                             other negotiable and non-negotiable
                                                                             instruments.
                                                                         16. Accounts receivable.                       X
                                                                         17. Alimony, maintenance, support, and         X
                                                                             property settlements in which the
                                                                             debtor is or may be entitled. Give
                                                                             particulars.
                                                                         18. Other liquidated debts owed to debtor      X
                                                                             including tax refunds. Give
                                                                             particulars.
                                                                         19. Equitable or future interest, life         X
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                             estates, and rights or powers
                                                                             exercisable for the benefit of the
                                                                             debtor other than those listed in
                                                                             Schedule A - Real Property.
                                                                         20. Contingent and noncontingent               X
                                                                             interests in estate of a decedent, death
                                                                             benefit plan, life insurance policy, or
                                                                             trust.
                                                                         21. Other contingent and unliquidated          X
                                                                             claims of every nature, including tax
                                                                             refunds, counterclaims of the debtor,
                                                                             and rights to setoff claims. Give
                                                                             estimated value of each.
                                                                         22. Patents, copyrights, and other             X
                                                                             intellectual property. Give particulars.
                                                                         23. Licenses, franchises, and other            X
                                                                             general intangibles. Give particulars.
                                                                         24. Customer lists or other compilations       X
                                                                             containing personally identifiable
                                                                             information (as defined in 11 U.S.C. §
                                                                             101(41A)) provided to the debtor by
                                                                             individuals in connection with
                                                                             obtaining a product or service from
                                                                             the debtor primarily for personal,
                                                                             family, or household purposes.
                                                                         25. Automobiles, trucks, trailers, and         X
                                                                             other vehicles and accessories.
                                                                         26. Boats, motors, and accessories.            X
                                                                         27. Aircraft and accessories.                  X
                                                                         28. Office equipment, furnishings, and         X
                                                                             supplies.
                                                                         29. Machinery, fixtures, equipment, and        X
                                                                             supplies used in business.
                                                                         30. Inventory.                                 X
                                                                         31. Animals.                                   X
                                                                         32. Crops - growing or harvested. Give         X
                                                                             particulars.
                                                                         33. Farming equipment and implements.          X
                                                                         34. Farm supplies, chemicals, and feed.        X


                                                                                                                                                   9
FiledB6B
      02/07/13
         (Official Form 6B) (12/07) - Cont.                                                                                          Case 13-21651                                                                                            Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                        Case No.
                                                                                                                         Debtor(s)                                                                                    (If known)

                                                                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                   N                                                                                                       DEBTOR'S INTEREST IN
                                                                                                                   O                                                                                                        PROPERTY WITHOUT
                                                                                     TYPE OF PROPERTY                                  DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                   N                                                                                                          DEDUCTING ANY
                                                                                                                   E                                                                                                        SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION




                                                                         35. Other personal property of any kind   X
                                                                             not already listed. Itemize.
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                             TOTAL                                   3,680.00
                                                                                                                                                                        (Include amounts from any continuation sheets attached.
                                                                                0 continuation sheets attached                                                                     Report total also on Summary of Schedules.)
                                                                                                                                             10
FiledB6C
      02/07/13
         (Official Form 6C) (04/10)                                                                                                            Case 13-21651                                                                               Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                   Case No.
                                                                                                                                  Debtor(s)                                                                          (If known)

                                                                                                                    SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                        Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $146,450. *
                                                                        (Check one box)
                                                                              11 U.S.C. § 522(b)(2)
                                                                              11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                               VALUE OF CLAIMED           OF PROPERTY
                                                                                          DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                                  EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                          EXEMPTIONS

                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                        Cash on hand                                                 CCCP § 703.140(b)(5)                                                    10.00                     10.00
                                                                        Checking Account - Chase Bank                                CCCP § 703.140(b)(5)                                                  120.00                     120.00
                                                                        Household goods and furnishings                              CCCP § 703.140(b)(3)                                                1,500.00                 1,500.00
                                                                        Books & pictures                                             CCCP § 703.140(b)(3)                                                  400.00                     400.00
                                                                        Clothing                                                     CCCP § 703.140(b)(3)                                                  250.00                     250.00
                                                                        Jewelry                                                      CCCP § 703.140(b)(4)                                                1,200.00                 1,200.00
                                                                        Sports & hobby equip.                                        CCCP § 703.140(b)(3)                                                  200.00                     200.00
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                        * Amount subject to adjustment on 4/1/13 and every three years thereafter11with respect to cases commenced on or after the date of adjustment.
FiledB6D
      02/07/13
         (Official Form 6D) (12/07)                                                                                                                                        Case 13-21651                                                                                                                       Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                                              Case No.
                                                                                                                                    Debtor(s)                                                                                                                                      (If known)

                                                                                                                SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                        date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                        the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                        security interests.
                                                                          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                        guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                        will not fit on this page, use the continuation sheet provided.
                                                                          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                        schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                        on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                        is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                        of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                        if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                        Liabilities and Related Data.

                                                                            Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                 OR COMMUNITY




                                                                                                                                                                                                                                       UNLIQUIDATED
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                   CODEBTOR




                                                                                                                                                                                                                                                                    AMOUNT OF




                                                                                                                                                                                                                                                      DISPUTED
                                                                                 CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                            UNSECURED
                                                                               INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                          PORTION, IF ANY
                                                                                          (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                   COLLATERAL




                                                                        ACCOUNT NO.




                                                                                                                                                                      Value $

                                                                        ACCOUNT NO.




                                                                                                                                                                      Value $

                                                                        ACCOUNT NO.




                                                                                                                                                                      Value $

                                                                        ACCOUNT NO.




                                                                                                                                                                      Value $
                                                                                                                                                                                                                           Subtotal
                                                                               0 continuation sheets attached                                                                                                  (Total of this page) $                                                    $
                                                                                                                                                                                                                             Total
                                                                                                                                                                                                           (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                                 (Report also on         (If applicable, report
                                                                                                                                                                                                                                                                 Summary of              also on Statistical
                                                                                                                                                                                                                                                                 Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                         Liabilities and Related
                                                                                                                                                                                                                                                                                         Data.)

                                                                                                                                                                                     12
FiledB6E
      02/07/13
         (Official Form 6E) (04/10)                                                                                                                Case 13-21651                                                                                         Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                            Case No.
                                                                                                                                    Debtor(s)                                                                                   (If known)

                                                                                                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                        priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                        number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                        sheet for each type of priority and label each with the type of priority.

                                                                           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                        If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                        not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                        schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                        on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                        "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                        may need to place an "X" in more than one of these three columns.)

                                                                          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                        on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                        on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                        Statistical Summary of Certain Liabilities and Related Data.

                                                                           Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                        listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                        the Statistical Summary of Certain Liabilities and Related Data.

                                                                            Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                        TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                             Domestic Support Obligations
                                                                             Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                             responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                             U.S.C. § 507(a)(1).
                                                                             Extensions of credit in an involuntary case
                                                                             Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                             appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                             Wages, salaries, and commissions
                                                                             Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                             independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                             cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                             Contributions to employee benefit plans
                                                                             Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                             cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                             Certain farmers and fishermen
                                                                             Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                             Deposits by individuals
                                                                             Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                             were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                             Taxes and Certain Other Debts Owed to Governmental Units
                                                                             Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                             Commitments to Maintain the Capital of an Insured Depository Institution
                                                                             Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                             of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                             Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                             Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                             a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                             * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                               0 continuation sheets attached

                                                                                                                                                               13
FiledB6F
      02/07/13
         (Official Form 6F) (12/07)                                                                                                                                          Case 13-21651                                                                                                    Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                                                Case No.
                                                                                                                                    Debtor(s)                                                                                                              (If known)

                                                                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                           State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                        or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                        the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                        guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                        listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                        schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                        on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                        is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                          Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                        Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                            Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                        OR COMMUNITY




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                          CODEBTOR




                                                                                                                                                                                                                                                                          DISPUTED
                                                                                      CREDITOR'S NAME, MAILING ADDRESS                                                                       DATE CLAIM WAS INCURRED AND                                                             AMOUNT
                                                                                  INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                  CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                             (See Instructions Above.)                                                                         SUBJECT TO SETOFF, SO STATE                                                            CLAIM
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                        ACCOUNT NO.                                                                                          Credit Card
                                                                        BANK OF AMERICA
                                                                        PO Box 29966
                                                                        Phoenix, AZ 85038-0966

                                                                                                                                                                                                                                                                                        100.00
                                                                        ACCOUNT NO. 5758....                                                                                 09/2005 Charge Card
                                                                        BLAIR CORPORATION
                                                                        220 HICKORY ST
                                                                        WARREN, PA 16366

                                                                                                                                                                                                                                                                                          0.00
                                                                        ACCOUNT NO.                                                                                          Back Tax Liability
                                                                        CALIFORNIA FRANCHISE BOARD
                                                                        PO Box 942840
                                                                        Sacramento, CA 94240-0040

                                                                                                                                                                                                                                                                                        500.00
                                                                        ACCOUNT NO.                                                                                          Credit Card
                                                                        CAPITAL ONE
                                                                        PO Box 30281
                                                                        Salt Lake City, UT 84130-0285

                                                                                                                                                                                                                                                                                        100.00
                                                                                                                                                                                                                                              Subtotal
                                                                               4 continuation sheets attached                                                                                                                     (Total of this page) $                                700.00
                                                                                                                                                                                                                                                 Total
                                                                                                                                                                                    (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                        the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                     Summary of Certain Liabilities and Related Data.) $




                                                                                                                                                                                     14
FiledB6F
      02/07/13
         (Official Form 6F) (12/07) - Cont.                                                                                                                                Case 13-21651                                                                                                    Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                                              Case No.
                                                                                                                                 Debtor(s)                                                                                                               (If known)

                                                                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                     (Continuation Sheet)




                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                                        DISPUTED
                                                                                     CREDITOR'S NAME, MAILING ADDRESS                                                                      DATE CLAIM WAS INCURRED AND                                                             AMOUNT
                                                                                 INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                 CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                            (See Instructions Above.)                                                                        SUBJECT TO SETOFF, SO STATE                                                            CLAIM




                                                                        ACCOUNT NO. 17343578….                                                                             02/2012 Collection
                                                                        CAVALRY PORTFOLIO SERVICE
                                                                        PO BOX 27288
                                                                        TEMPE, AZ 85285

                                                                                                                                                                                                                                                                                      590.00
                                                                        ACCOUNT NO.                                                                                        Credit Card
                                                                        CITI
                                                                        PO Box 6500
                                                                        Sioux Falls, SD 57117-6500
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                      100.00
                                                                        ACCOUNT NO.                                                                                        MISC Consumer Debt
                                                                        COFACE COLLECTIONS NORTH AMERICA INC.
                                                                        3001 Division Street
                                                                        Metairie, LA 70002


                                                                                                                                                                                                                                                                                       50.00
                                                                        ACCOUNT NO. 578098100161....                                                                       09/2005 Charge Card
                                                                        COMENITY CAPITAL/BLAIR
                                                                        PO BOX 182120
                                                                        COLUMBUS, OH 43218

                                                                                                                                                                                                                                                                                        0.00
                                                                        ACCOUNT NO. 1241160000455098….                                                                     07/2012 Collection
                                                                        CONTINENTAL CREDIT CTRL
                                                                        22 N MILPAS ST STE C
                                                                        SANTA BARBARA, CA 93103

                                                                                                                                                                                                                                                                                       36.00
                                                                        ACCOUNT NO. 12080860000642591….                                                                    03/2009 Collection
                                                                        CREDIT BUREAU ASSOCIATES
                                                                        460 UNION AVE
                                                                        FAIRFIELD, CA 94533

                                                                                                                                                                                                                                                                                        0.00
                                                                        ACCOUNT NO. 407193018063....                                                                       10/1999 Credit card
                                                                        CREDIT ONE BANK
                                                                        PO BOX 98873
                                                                        LAS VEGAS, NV 89193

                                                                                                                                                                                                                                                                                        0.00
                                                                        Sheet no.       1 of        4 continuation sheets attached to                                                                                                       Subtotal
                                                                        Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                776.00
                                                                                                                                                                                                                                               Total
                                                                                                                                                                                  (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                      the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                   Summary of Certain Liabilities and Related Data.) $
                                                                                                                                                                                   15
FiledB6F
      02/07/13
         (Official Form 6F) (12/07) - Cont.                                                                                                                                Case 13-21651                                                                                                    Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                                             Case No.
                                                                                                                                 Debtor(s)                                                                                                               (If known)

                                                                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                     (Continuation Sheet)




                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                                        DISPUTED
                                                                                     CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                              AMOUNT
                                                                                 INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                            (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                             CLAIM




                                                                        ACCOUNT NO. 54381275….                                                                             08/2011 Collection
                                                                        ENHANCED RECOVERY CO LLC
                                                                        8014 BAYBERRY RD
                                                                        JACKSONVILLE, FL 32256

                                                                                                                                                                                                                                                                                      293.00
                                                                        ACCOUNT NO. 20231....                                                                              02/2011 Unsecured
                                                                        FIGI'S
                                                                        PO BOX 7713
                                                                        MARSHFIELD, WI 54449
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                       49.00
                                                                        ACCOUNT NO.                                                                                        MISC Consumer Debt
                                                                        GC SERVICES LP
                                                                        P.O. Box 2667
                                                                        Houston, TX 77081

                                                                                                                                                                                                                                                                                       50.00
                                                                        ACCOUNT NO. 515597001539....                                                                       04/2007 Credit card
                                                                        HSBC BANK
                                                                        PO BOX 5253
                                                                        CAROL STREAM, IL 60197

                                                                                                                                                                                                                                                                                        0.00
                                                                        ACCOUNT NO. 515599001737....                                                                       01/2011 Credit card
                                                                        HSBC BANK
                                                                        PO BOX 5253
                                                                        CAROL STREAM, IL 60197

                                                                                                                                                                                                                                                                                        0.00
                                                                        ACCOUNT NO. 47681542001….                                                                          08/2012 Collection
                                                                        I C SYSTEM INC
                                                                        PO BOX 64378
                                                                        SAINT PAUL, MN 55164

                                                                                                                                                                                                                                                                                       51.00
                                                                        ACCOUNT NO.                                                                                        MISC Consumer Debt
                                                                        IC SYSTEMS INC.
                                                                        444 Highway 96 Eas
                                                                        St. Pau, MN 55127-2557

                                                                                                                                                                                                                                                                                       50.00
                                                                        Sheet no.       2 of        4 continuation sheets attached to                                                                                                       Subtotal
                                                                        Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                493.00
                                                                                                                                                                                                                                               Total
                                                                                                                                                                                  (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                      the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                   Summary of Certain Liabilities and Related Data.) $
                                                                                                                                                                                   16
FiledB6F
      02/07/13
         (Official Form 6F) (12/07) - Cont.                                                                                                                                Case 13-21651                                                                                                    Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                                             Case No.
                                                                                                                                 Debtor(s)                                                                                                               (If known)

                                                                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                     (Continuation Sheet)




                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                                        DISPUTED
                                                                                     CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                              AMOUNT
                                                                                 INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                            (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                             CLAIM




                                                                        ACCOUNT NO.                                                                                        Back Tax Liability
                                                                        INTERNAL REVENUE SERVICE
                                                                        Fresno, CA 93888


                                                                                                                                                                                                                                                                                      500.00
                                                                        ACCOUNT NO.                                                                                        MISC Consumer Debt
                                                                        IQOR INC.
                                                                        335 Madison Ave., 27th Fl.
                                                                        New York, NY 10017
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                       50.00
                                                                        ACCOUNT NO. 515597001539....                                                                       09/2011 Debt Buyer
                                                                        LVNV FUNDING, LLC
                                                                        PO BOX 10497
                                                                        GREENVILLE, SC 29603

                                                                                                                                                                                                                                                                                      952.00
                                                                        ACCOUNT NO. 853209....                                                                             09/2009 Debt Buyer
                                                                        MIDLAND FUNDING
                                                                        8875 AERO DR STE 200
                                                                        SAN DIEGO, CA 92123

                                                                                                                                                                                                                                                                                      835.00
                                                                        ACCOUNT NO. 854817....                                                                             04/2012 Debt Buyer
                                                                        MIDLAND FUNDING
                                                                        8875 AERO DR STE 200
                                                                        SAN DIEGO, CA 92123

                                                                                                                                                                                                                                                                                    1,421.00
                                                                        ACCOUNT NO. 965321419....                                                                          03/2008 Charge Card
                                                                        MIDNIGHT VELVET
                                                                        1112 7TH AVE
                                                                        MONROE, WI 53566

                                                                                                                                                                                                                                                                                      176.00
                                                                        ACCOUNT NO.                                                                                        MISC Consumer Debt
                                                                        NCO FINANCIAL SYSTEMS
                                                                        507 Prudential Road
                                                                        Horsham, PA 19044-2308

                                                                                                                                                                                                                                                                                       50.00
                                                                        Sheet no.       3 of        4 continuation sheets attached to                                                                                                       Subtotal
                                                                        Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              3,984.00
                                                                                                                                                                                                                                               Total
                                                                                                                                                                                  (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                      the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                   Summary of Certain Liabilities and Related Data.) $
                                                                                                                                                                                   17
FiledB6F
      02/07/13
         (Official Form 6F) (12/07) - Cont.                                                                                                                                Case 13-21651                                                                                                    Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                                             Case No.
                                                                                                                                 Debtor(s)                                                                                                               (If known)

                                                                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                     (Continuation Sheet)




                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                                        DISPUTED
                                                                                     CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                              AMOUNT
                                                                                 INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                            (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                             CLAIM




                                                                        ACCOUNT NO. 7081160001339909….                                                                     12/2011 Collection
                                                                        RASH CURTIS & ASSOCIATES
                                                                        190 S ORCHARD AVE STE A205
                                                                        VACAVILLE, CA 95688

                                                                                                                                                                                                                                                                                       71.00
                                                                        ACCOUNT NO. 3000015948089....                                                                      09/2001 Auto Loan
                                                                        SANTANDER CONSUMER USA
                                                                        5201 RUFE SNOW DR
                                                                        NORTH RICHLAND HILLS, TX 76180
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                    5,873.00
                                                                        ACCOUNT NO. 1111715….                                                                              02/2011 Collection
                                                                        SOUTHWEST COLLECTION SVC
                                                                        1111 E KATELLA AVE STE 260
                                                                        ORANGE, CA 92867

                                                                                                                                                                                                                                                                                    2,832.00
                                                                        ACCOUNT NO. 525983003222....                                                                       03/2008 Credit card
                                                                        TRIBUTE/COMPUCREDIT CORP
                                                                        PO BOX 105555
                                                                        ATLANTA, GA 30348

                                                                                                                                                                                                                                                                                      607.00
                                                                        ACCOUNT NO. 3765151….                                                                              08/2012 Collection
                                                                        TRUE NORTH AR
                                                                        100 WOOD HOLLOW DR STE 200
                                                                        NOVATO, CA 94945

                                                                                                                                                                                                                                                                                    1,295.00
                                                                        ACCOUNT NO.                                                                                        MISC Consumer Debt
                                                                        WELTMAN, WEINBERG & REIS
                                                                        965 Keynote Circle
                                                                        Brooklyn Heights, OH 44131

                                                                                                                                                                                                                                                                                       50.00
                                                                        ACCOUNT NO.




                                                                        Sheet no.       4 of        4 continuation sheets attached to                                                                                                       Subtotal
                                                                        Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             10,728.00
                                                                                                                                                                                                                                               Total
                                                                                                                                                                                  (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                      the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                   Summary of Certain Liabilities and Related Data.) $                             16,681.00
                                                                                                                                                                                   18
FiledB6G
      02/07/13
         (Official Form 6G) (12/07)                                                                                                                Case 13-21651                                                                                        Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                            Case No.
                                                                                                                                    Debtor(s)                                                                                  (If known)

                                                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                           Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                        contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                        lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                        such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                            Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                            STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                              OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                              STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                               19
FiledB6H
      02/07/13
         (Official Form 6H) (12/07)                                                                                                                 Case 13-21651                                                                                         Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                             Case No.
                                                                                                                                     Debtor(s)                                                                                   (If known)

                                                                                                                                        SCHEDULE H - CODEBTORS
                                                                           Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                        of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                        of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                        territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                        a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                        name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                            Check this box if debtor has no codebtors.

                                                                                                   NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                20
FiledB6I
      02/07/13
         (Official Form 6I) (12/07)                                                                                                             Case 13-21651                                                                                                   Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                       Case No.
                                                                                                                                  Debtor(s)                                                                                     (If known)

                                                                                                        SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                        The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                        are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                        monthly income calculated on From 22A, 22B, or 22C.
                                                                         Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                         Single                                      RELATIONSHIP(S):                                                                                             AGE(S):




                                                                         EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                         Occupation
                                                                         Name of Employer
                                                                         How long employed
                                                                         Address of Employer



                                                                        INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                        1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $                               $
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                        2. Estimated monthly overtime                                                                                            $                               $
                                                                        3. SUBTOTAL                                                                                                              $                       0.00 $
                                                                        4. LESS PAYROLL DEDUCTIONS
                                                                          a. Payroll taxes and Social Security                                                                                   $                               $
                                                                          b. Insurance                                                                                                           $                               $
                                                                          c. Union dues                                                                                                          $                               $
                                                                          d. Other (specify)                                                                                                     $                               $
                                                                                                                                                                                                 $                               $
                                                                        5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                       0.00 $
                                                                        6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $                       0.00 $

                                                                        7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                               $
                                                                        8. Income from real property                                                                                             $                               $
                                                                        9. Interest and dividends                                                                                                $                               $
                                                                        10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                        that of dependents listed above                                                                                          $                               $
                                                                        11. Social Security or other government assistance
                                                                          (Specify) Social Security                                                                                              $                   736.00 $
                                                                                       Disibility                                                                                                $                   150.00 $
                                                                        12. Pension or retirement income                                                                                         $                               $
                                                                        13. Other monthly income
                                                                          (Specify)                                                                                                              $                               $
                                                                                                                                                                                                 $                               $
                                                                                                                                                                                                 $                               $

                                                                        14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $                   886.00 $
                                                                        15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $                   886.00 $

                                                                        16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                        if there is only one debtor repeat total reported on line 15)                                                                            $                   886.00
                                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                                 Statistical Summary of Certain Liabilities and Related Data)

                                                                        17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                        None


                                                                                                                                                           21
FiledB6J
      02/07/13
         (Official Form 6J) (12/07)                                                                                                             Case 13-21651                                                                                     Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                        Case No.
                                                                                                                                  Debtor(s)                                                                               (If known)

                                                                                                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                        quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                        on Form22A or 22C.
                                                                           Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                        expenditures labeled “Spouse.”

                                                                        1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $              200.00
                                                                            a. Are real estate taxes included? Yes      No
                                                                            b. Is property insurance included? Yes      No
                                                                        2. Utilities:
                                                                            a. Electricity and heating fuel                                                                                                                $              150.00
                                                                            b. Water and sewer                                                                                                                             $
                                                                            c. Telephone                                                                                                                                   $              110.00
                                                                            d. Other Cable/Internet                                                                                                                        $              120.00
                                                                                                                                                                                                                           $
                                                                        3. Home maintenance (repairs and upkeep)                                                                                                           $
                                                                        4. Food                                                                                                                                            $              250.00
                                                                        5. Clothing                                                                                                                                        $               50.00
                                                                        6. Laundry and dry cleaning                                                                                                                        $               40.00
                                                                        7. Medical and dental expenses                                                                                                                     $              100.00
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                        8. Transportation (not including car payments)                                                                                                     $              175.00
                                                                        9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $              100.00
                                                                        10. Charitable contributions                                                                                                                       $               80.00
                                                                        11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                            a. Homeowner’s or renter’s                                                                                                                     $
                                                                            b. Life                                                                                                                                        $                76.00
                                                                            c. Health                                                                                                                                      $
                                                                            d. Auto                                                                                                                                        $
                                                                            e. Other                                                                                                                                       $
                                                                                                                                                                                                                           $
                                                                        12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                            (Specify)                                                                                                                                      $
                                                                                                                                                                                                                           $
                                                                        13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                            a. Auto                                                                                                                                        $
                                                                            b. Other                                                                                                                                       $
                                                                                                                                                                                                                           $
                                                                        14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                        15. Payments for support of additional dependents not living at your home                                                                          $
                                                                        16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                        17. Other                                                                                                                                          $
                                                                                                                                                                                                                           $
                                                                                                                                                                                                                           $

                                                                        18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                        applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            1,451.00

                                                                        19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                        None




                                                                        20. STATEMENT OF MONTHLY NET INCOME
                                                                            a. Average monthly income from Line 15 of Schedule I                                                                                           $              886.00
                                                                            b. Average monthly expenses from Line 18 above                                                                                                 $            1,451.00
                                                                            c. Monthly net income (a. minus b.)                                                                                                            $             -565.00

                                                                                                                                                            22
FiledB602/07/13
        Declaration (Official Form 6 - Declaration)                                                                        (12/07)              Case 13-21651                                                                                                  Doc 1
                                                                        IN RE Cowley, Beverly Jeanette                                                                                      Case No.
                                                                                                                                  Debtor(s)                                                                                    (If known)

                                                                                                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                         DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                        I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      18 sheets, and that they are
                                                                        true and correct to the best of my knowledge, information, and belief.

                                                                        Date: February 7, 2013                               Signature: /s/ Beverly Jeanette Cowley
                                                                                                                                                                                                                                                          Debtor
                                                                                                                                          Beverly Jeanette Cowley

                                                                        Date:                                                Signature:
                                                                                                                                                                                                                                            (Joint Debtor, if any)
                                                                                                                                                                                                  [If joint case, both spouses must sign.]

                                                                                      DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                        compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                        and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                        bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                        any fee from the debtor, as required by that section.
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                        Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                        If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                        responsible person, or partner who signs the document.



                                                                        Address




                                                                        Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                        Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                        is not an individual:


                                                                        If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                        A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                        imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                        DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                        I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                        member or an authorized agent of the partnership) of the
                                                                        (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                        schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                        knowledge, information, and belief.



                                                                        Date:                                                Signature:


                                                                                                                                                                                                    (Print or type name of individual signing on behalf of debtor)

                                                                                      [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                 Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                                                                           23
FiledB702/07/13
        (Official Form 7) (12/12)                                                                                                          Case 13-21651                                                                             Doc 1
                                                                                                                                 United States Bankruptcy Court
                                                                                                                                  Eastern District of California

                                                                        IN RE:                                                                                                       Case No.
                                                                        Cowley, Beverly Jeanette                                                                                     Chapter 7
                                                                                                                         Debtor(s)

                                                                                                                          STATEMENT OF FINANCIAL AFFAIRS
                                                                           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                        is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                        is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                        farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                        personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                        guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                        25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                        use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                                DEFINITIONS

                                                                          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                        for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                        an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                        partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                        form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                        which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                        affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                        1. Income from employment or operation of business
                                                                         None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                                including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                                case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                                maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                                beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                joint petition is not filed.)

                                                                        2. Income other than from employment or operation of business
                                                                         None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                                two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                                separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                                the spouses are separated and a joint petition is not filed.)
                                                                                    AMOUNT SOURCE
                                                                                     1,772.00 2013 YTD
                                                                                    10,632.00 2012 SOCIAL SECURITY/DISIBILITY
                                                                                     9,828.00 2011 SOCIAL SECURITY/DISIBILITY

                                                                        3. Payments to creditors
                                                                        Complete a. or b., as appropriate, and c.
                                                                         None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                                debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                                constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                                a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                                counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                                petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                                                                                                      24
Filed 02/07/13                                                                                                                             Case 13-21651                                                                              Doc 1
                                                                        None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                               preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                               $5,850.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                               obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                               debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                               is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                               * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                        None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                               who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                               a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                        None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                               bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                               not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                               the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                               or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       5. Repossessions, foreclosures and returns
                                                                        None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                               the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                               include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                               joint petition is not filed.)

                                                                       6. Assignments and receiverships
                                                                        None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                               (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                               unless the spouses are separated and joint petition is not filed.)

                                                                        None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       7. Gifts
                                                                        None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                               gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                               per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                               a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       8. Losses
                                                                        None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                               a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       9. Payments related to debt counseling or bankruptcy
                                                                        None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                               consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                               of this case.

                                                                       10. Other transfers
                                                                        None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                               absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                               chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                               petition is not filed.)




                                                                                                                                                      25
Filed 02/07/13                                                                                                                            Case 13-21651                                                                            Doc 1

                                                                        None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                               device of which the debtor is a beneficiary.

                                                                       11. Closed financial accounts
                                                                        None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                               transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                               certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                               brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                               accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                               petition is not filed.)

                                                                       12. Safe deposit boxes
                                                                        None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       13. Setoffs
                                                                        None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                               case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       14. Property held for another person
                                                                        None   List all property owned by another person that the debtor holds or controls.
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                       15. Prior address of debtor
                                                                        None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                               that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                       16. Spouses and Former Spouses
                                                                        None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                               Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                               identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                       17. Environmental Information
                                                                       For the purpose of this question, the following definitions apply:
                                                                       “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                       wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                       the cleanup of these substances, wastes or material.
                                                                       “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                       debtor, including, but not limited to, disposal sites.
                                                                       “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                       or similar term under an Environmental Law.

                                                                        None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                               potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                               Environmental Law.

                                                                        None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                               the governmental unit to which the notice was sent and the date of the notice.

                                                                        None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                               is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




                                                                                                                                                     26
Filed 02/07/13                                                                                                                            Case 13-21651                                                                             Doc 1

                                                                       18. Nature, location and name of business
                                                                        None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                               of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                               proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                               commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                               preceding the commencement of this case.
                                                                               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                               of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                               preceding the commencement of this case.
                                                                               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                               of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                               preceding the commencement of this case.
                                                                        None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.



                                                                       [If completed by an individual or individual and spouse]

                                                                       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                       thereto and that they are true and correct.
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                       Date: February 7, 2013                           Signature /s/ Beverly Jeanette Cowley
                                                                                                                        of Debtor                                                                      Beverly Jeanette Cowley

                                                                       Date:                                            Signature
                                                                                                                        of Joint Debtor
                                                                                                                        (if any)

                                                                                                                                          0 continuation pages attached


                                                                        Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.




                                                                                                                                                     27
Filed 02/07/13                                                                                                                      Case 13-21651                                                                   Doc 1
                                                                       B8 (Official Form 8) (12/08)
                                                                                                                            United States Bankruptcy Court
                                                                                                                             Eastern District of California

                                                                       IN RE:                                                                                          Case No.
                                                                       Cowley, Beverly Jeanette                                                                        Chapter 7
                                                                                                                     Debtor(s)

                                                                                                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                       PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
                                                                       estate. Attach additional pages if necessary.)
                                                                        Property No. 1
                                                                        Creditor’s Name:                                                          Describe Property Securing Debt:

                                                                        Property will be (check one):
                                                                            Surrendered       Retained
                                                                        If retaining the property, I intend to (check at least one):
                                                                              Redeem the property
                                                                              Reaffirm the debt
                                                                              Other. Explain                                                                  (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                        Property is (check one):
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                            Claimed as exempt            Not claimed as exempt

                                                                        Property No. 2 (if necessary)
                                                                        Creditor’s Name:                                                          Describe Property Securing Debt:

                                                                        Property will be (check one):
                                                                            Surrendered       Retained
                                                                        If retaining the property, I intend to (check at least one):
                                                                              Redeem the property
                                                                              Reaffirm the debt
                                                                              Other. Explain                                                                  (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                        Property is (check one):
                                                                            Claimed as exempt            Not claimed as exempt
                                                                       PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                                                                       additional pages if necessary.)
                                                                        Property No. 1
                                                                        Lessor’s Name:                                       Describe Leased Property:                     Lease will be assumed pursuant to
                                                                                                                                                                           11 U.S.C. § 365(p)(2):
                                                                                                                                                                              Yes     No

                                                                        Property No. 2 (if necessary)
                                                                        Lessor’s Name:                                       Describe Leased Property:                     Lease will be assumed pursuant to
                                                                                                                                                                           11 U.S.C. § 365(p)(2):
                                                                                                                                                                              Yes     No
                                                                             continuation sheets attached (if any)
                                                                       I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
                                                                       personal property subject to an unexpired lease.

                                                                       Date:         February 7, 2013                     /s/ Beverly Jeanette Cowley
                                                                                                                          Signature of Debtor

                                                                                                                          Signature of Joint Debtor
                                                                                                                                             28
Filed 02/07/13                                                                                                                                                                  Case 13-21651                                                                                                         Doc 1
                                                                                                                                                               United States Bankruptcy Court
                                                                                                                                                                Eastern District of California

                                                                       IN RE:                                                                                                                                                                     Case No.
                                                                       Cowley, Beverly Jeanette                                                                                                                                                   Chapter 7
                                                                                                                                                    Debtor(s)

                                                                                                                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                       1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                              one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                              of or in connection with the bankruptcy case is as follows:

                                                                              For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               899.00

                                                                              Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   899.00

                                                                              Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $     0.00

                                                                       2.     The source of the compensation paid to me was:                                 Debtor             Other (specify):

                                                                       3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

                                                                       4.            I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                                                                                     I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                     together with a list of the names of the people sharing in the compensation, is attached.
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                       5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                              a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                              b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                              c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                              d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                              e.     [Other provisions as needed]




                                                                       6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                                                                                                      CERTIFICATION
                                                                            I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                            proceeding.


                                                                                                    February 7, 2013                                                  /s/ Richard E.A. Dwyer
                                                                                                                 Date                                                 Richard E.A. Dwyer
                                                                                                                                                                      Law Office of Carl A. Lux
                                                                                                                                                                          91001-0000



                                                                                                                                                                                                 29
Filed 02/07/13                                                                                                               Case 13-21651                                                              Doc 1
                                                                       B201A (Form 201A) (11/12)


                                                                                                           UNITED STATES BANKRUPTCY COURT

                                                                                                   NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                            OF THE BANKRUPTCY CODE

                                                                                In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                       Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                       costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                       notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                               You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                       advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                       cannot give you legal advice.

                                                                                Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                       ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                       court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                       each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                       receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                       statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                       1. Services Available from Credit Counseling Agencies

                                                                               With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                       bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                       credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                       days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                       by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                       United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                       approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                               In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                       management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                       financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                       2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                                Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
                                                                                Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                       Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                       should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                       residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                       have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                       to decide whether the case should be dismissed.
                                                                                Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                       right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                       creditors.
                                                                                The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                       have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your




                                                                                                                                     30
Filed 02/07/13                                                                                                               Case 13-21651                                                               Doc 1
                                                                       B201A (Form 201A) (11/12)                                                                                                     Page 2

                                                                       discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                                Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                       may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                       and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                       which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                       motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                       from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                       that the debt is not discharged.

                                                                                Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                       $46 administrative fee: Total fee $281)
                                                                                Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                       installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                       set forth in the Bankruptcy Code.
                                                                                Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                       them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                       depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                                After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                       obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                       properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                       secured obligations.

                                                                                Chapter 11: Reorganization ($1167 filing fee, $46 administrative fee: Total fee $1213)
                                                                                Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                       provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                       an attorney.

                                                                                Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
                                                                                Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                       future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                       income arises primarily from a family-owned farm or commercial fishing operation.

                                                                       3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                                A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                       perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                       information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                       acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                       employees of the Department of Justice.

                                                                       WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                       your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                       dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                       Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                       B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




                                                                                                                                      31
FiledB201B
      02/07/13
           (Form 201B) (12/09)                                                                                                     Case 13-21651                                                                       Doc 1
                                                                                                                          United States Bankruptcy Court
                                                                                                                           Eastern District of California

                                                                        IN RE:                                                                                              Case No.
                                                                        Cowley, Beverly Jeanette                                                                            Chapter 7
                                                                                                                   Debtor(s)

                                                                                                       CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                           UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                         Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                        I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                        notice, as required by § 342(b) of the Bankruptcy Code.


                                                                        Printed Name and title, if any, of Bankruptcy Petition Preparer                                    Social Security number (If the bankruptcy
                                                                        Address:                                                                                           petition preparer is not an individual, state
                                                                                                                                                                           the Social Security number of the officer,
                                                                                                                                                                           principal, responsible person, or partner of
                                                                                                                                                                           the bankruptcy petition preparer.)
                                                                                                                                                                           (Required by 11 U.S.C. § 110.)
                                                                        X
   © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                        Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                        partner whose Social Security number is provided above.

                                                                                                                               Certificate of the Debtor

                                                                        I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                        Cowley, Beverly Jeanette                                                 X /s/ Beverly Jeanette Cowley                                2/07/2013
                                                                        Printed Name(s) of Debtor(s)                                                 Signature of Debtor                                           Date


                                                                        Case No. (if known)                                                      X
                                                                                                                                                     Signature of Joint Debtor (if any)                            Date


                                                                        Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                        Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                        NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                        attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                        page 3 of Form B1 also include this certification.




                                                                                                                                            32
Filed 02/07/13                                                                                                                     Case 13-21651                                                                  Doc 1
                                                                       B22A (Official Form 22A) (Chapter 7) (12/10)                         According to the information required to be entered on this
                                                                                                                                            statement (check one box as directed in Part I, III, or VI of this
                                                                                                                                            statement):
                                                                                                                                                 The presumption arises
                                                                                                                                                 The presumption does not arise
                                                                       In re: Cowley, Beverly Jeanette
                                                                                                         Debtor(s)                               The presumption is temporarily inapplicable.
                                                                       Case Number:
                                                                                                         (If known)



                                                                                                 CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                            AND MEANS-TEST CALCULATION
                                                                       In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in
                                                                       Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete
                                                                       separate statements if they believe this is required by § 707(b)(2)(C).


                                                                                                              Part I. MILITARY AND NON-CONSUMER DEBTORS
                                                                                Disabled Veterans. If you are a disabled veteran described in the Veteran’s Declaration in this Part IA, (1) check the box at
                                                                                the beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
                                                                                complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                         1A
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                   Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran
                                                                                (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
                                                                                defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
                                                                                Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification
                                                                                in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                         1B
                                                                                   Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
                                                                                Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
                                                                                of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. §
                                                                                101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as
                                                                                defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time
                                                                                of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for this
                                                                                temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                                Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
                                                                                top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required to
                                                                                complete the balance of this form, but you must complete the form no later than 14 days after the date on which your
                                                                                exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
                                                                                before your exclusion period ends.

                                                                                   Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
                                                                         1C     below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                                component of the Armed Forces or the National Guard

                                                                                         a.     I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                       I remain on active duty /or/
                                                                                                       I was released from active duty on                    , which is less than 540 days before this
                                                                                                   bankruptcy case was filed;

                                                                                                    OR

                                                                                         b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                                I performed homeland defense activity for a period of at least 90 days, terminating on                     ,
                                                                                              which is less than 540 days before this bankruptcy case was filed.




                                                                                                                                            33
Filed 02/07/13                                                                                                                 Case 13-21651                                                               Doc 1
                                                                       B22A (Official Form 22A) (Chapter 7) (12/10)
                                                                                        Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                                                                               Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                               a.  Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                               b.  Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                   penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                                                                                   are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                                                                                   Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                               c.  Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                         2
                                                                                   Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.
                                                                               d.  Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for
                                                                                   Lines 3-11.
                                                                               All figures must reflect average monthly income received from all sources, derived during         Column A       Column B
                                                                               the six calendar months prior to filing the bankruptcy case, ending on the last day of the        Debtor’s       Spouse’s
                                                                               month before the filing. If the amount of monthly income varied during the six months, you         Income         Income
                                                                               must divide the six-month total by six, and enter the result on the appropriate line.
                                                                         3     Gross wages, salary, tips, bonuses, overtime, commissions.                                    $              $
                                                                               Income from the operation of a business, profession or farm. Subtract Line b from Line
                                                                               a and enter the difference in the appropriate column(s) of Line 4. If you operate more than
                                                                               one business, profession or farm, enter aggregate numbers and provide details on an
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                               attachment. Do not enter a number less than zero. Do not include any part of the business
                                                                         4     expenses entered on Line b as a deduction in Part V.
                                                                                a.   Gross receipts                                    $
                                                                                b.   Ordinary and necessary business expenses          $
                                                                                c.   Business income                                   Subtract Line b from Line a
                                                                                                                                                                             $              $
                                                                               Rent and other real property income. Subtract Line b from Line a and enter the
                                                                               difference in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do
                                                                               not include any part of the operating expenses entered on Line b as a deduction in
                                                                               Part V.
                                                                         5
                                                                                a.   Gross receipts                                    $
                                                                                b.   Ordinary and necessary operating expenses         $
                                                                                c.   Rent and other real property income               Subtract Line b from Line a
                                                                                                                                                                             $              $
                                                                         6     Interest, dividends, and royalties.                                                           $              $
                                                                         7     Pension and retirement income.                                                                $              $
                                                                               Any amounts paid by another person or entity, on a regular basis, for the household
                                                                               expenses of the debtor or the debtor’s dependents, including child support paid for
                                                                         8     that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                               by your spouse if Column B is completed. Each regular payment should be reported in only
                                                                               one column; if a payment is listed in Column A, do not report that payment in Column B.       $              $
                                                                               Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                               However, if you contend that unemployment compensation received by you or your spouse
                                                                               was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                         9     Column A or B, but instead state the amount in the space below:
                                                                                Unemployment compensation
                                                                                claimed to be a benefit under the
                                                                                Social Security Act                     Debtor $                  Spouse $
                                                                                                                                                                             $              $




                                                                                                                                        34
Filed 02/07/13                                                                                                                    Case 13-21651                                                               Doc 1
                                                                       B22A (Official Form 22A) (Chapter 7) (12/10)
                                                                              Income from all other sources. Specify source and amount. If necessary, list additional
                                                                              sources on a separate page. Do not include alimony or separate maintenance payments
                                                                              paid by your spouse if Column B is completed, but include all other payments of
                                                                              alimony or separate maintenance. Do not include any benefits received under the Social
                                                                              Security Act or payments received as a victim of a war crime, crime against humanity, or as
                                                                         10   a victim of international or domestic terrorism.
                                                                                 a.   Social Security                                                       $     736.00
                                                                                 b.   SSDI                                                                  $     150.00
                                                                                 Total and enter on Line 10                                                                  $          886.00 $
                                                                               Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
                                                                         11
                                                                               and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).        $          886.00 $
                                                                               Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                         12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                               completed, enter the amount from Line 11, Column A.                                            $                      886.00

                                                                                                          Part III. APPLICATION OF § 707(B)(7) EXCLUSION
                                                                               Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
                                                                         13
                                                                               12 and enter the result.                                                                                       $    10,632.00
                                                                               Applicable median family income. Enter the median family income for the applicable state and
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                               household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                         14    the bankruptcy court.)
                                                                               a. Enter debtor’s state of residence: California                     b. Enter debtor’s household size:     1   $    47,433.00
                                                                               Application of Section707(b)(7). Check the applicable box and proceed as directed.
                                                                                  The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does
                                                                         15       not arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.
                                                                                  The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                                                                                      Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                                                                                         Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
                                                                         16    Enter the amount from Line 12.                                                                                 $
                                                                               Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
                                                                               Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
                                                                               debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such as
                                                                               payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the
                                                                               debtor’s dependents) and the amount of income devoted to each purpose. If necessary, list additional
                                                                         17    adjustments on a separate page. If you did not check box at Line 2.c, enter zero.
                                                                                 a.                                                                                      $
                                                                                 b.                                                                                      $
                                                                                 c.                                                                                      $
                                                                                 Total and enter on Line 17.                                                                                  $
                                                                         18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                    $

                                                                                                     Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                               National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
                                                                               National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
                                                                        19A    information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
                                                                               number of persons is the number that would currently be allowed as exemptions on your federal income tax
                                                                               return, plus the number of any additional dependents whom35 you support.                                  $
Filed 02/07/13                                                                                                                 Case 13-21651                                                     Doc 1
                                                                       B22A (Official Form 22A) (Chapter 7) (12/10)
                                                                              National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                              Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                              Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                              persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                              years of age or older. (The applicable number of persons in each age category is the number in that
                                                                              category that would currently be allowed as exemptions on your federal income tax return, plus the number
                                                                              of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
                                                                        19B   persons  under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
                                                                              persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
                                                                              amount, and enter the result in Line 19B.
                                                                                 Persons under 65 years of age                        Persons 65 years of age or older
                                                                                 a1.    Allowance per person                          a2.    Allowance per person
                                                                                 b1.    Number of persons                             b2.    Number of persons
                                                                                 c1.    Subtotal                                      c2.    Subtotal
                                                                                                                                                                                             $
                                                                               Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
                                                                               and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
                                                                        20A    information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable
                                                                               family size consists of the number that would currently be allowed as exemptions on your federal income
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                               tax return, plus the number of any additional dependents whom you support.                                    $
                                                                               Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
                                                                               the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
                                                                               information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court)(the applicable
                                                                               family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                               tax return, plus the number of any additional dependents whom you support); enter on Line b the total of
                                                                               the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b
                                                                        20B    from Line a and enter the result in Line 20B. Do not enter an amount less than zero.
                                                                                 a.    IRS Housing and Utilities Standards; mortgage/rental expense        $
                                                                                 b.    Average Monthly Payment for any debts secured by your home, if
                                                                                       any, as stated in Line 42                                           $
                                                                                 c.    Net mortgage/rental expense                                         Subtract Line b from Line a
                                                                                                                                                                                             $
                                                                               Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
                                                                               and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                               Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
                                                                               for your contention in the space below:
                                                                         21




                                                                                                                                                                                             $
                                                                               Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                               an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
                                                                               and regardless of whether you use public transportation.
                                                                               Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                               expenses are included as a contribution to your household expenses in Line 8.
                                                                        22A       0      1     2 or more.
                                                                               If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
                                                                               Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS
                                                                               Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                               Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
                                                                               of the bankruptcy court.)                                                                                     $
                                                                                                                                        36
Filed 02/07/13                                                                                                                   Case 13-21651                                                      Doc 1
                                                                       B22A (Official Form 22A) (Chapter 7) (12/10)
                                                                              Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                              expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                        22B additional deduction for your public transportation expenses, enter on Line 22B the “Public
                                                                              Transportation” amount from IRS Local Standards: Transportation. (This amount is available at
                                                                              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                    $
                                                                               Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                               which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
                                                                               than two vehicles.)
                                                                                  1      2 or more.
                                                                               Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                               Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                         23    the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42;
                                                                               subtract Line b from Line a and enter the result in Line 23. Do not enter an amount less than zero.
                                                                                 a.   IRS Transportation Standards, Ownership Costs                          $
                                                                                      Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                                 b.   stated in Line 42                                                      $
                                                                                 c.   Net ownership/lease expense for Vehicle 1                              Subtract Line b from Line a
                                                                                                                                                                                                $
                                                                               Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
                                                                               checked the “2 or more” Box in Line 23.
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                               Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                               Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                               the total of the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42;
                                                                         24    subtract Line b from Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                 a.   IRS Transportation Standards, Ownership Costs, Second Car              $
                                                                                      Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                                 b.   stated in Line 42                                                      $
                                                                                 c.   Net ownership/lease expense for Vehicle 2                              Subtract Line b from Line a        $
                                                                               Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                         25    federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                               taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                     $
                                                                               Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                         26    payroll deductions that are required for your employment, such as retirement contributions, union dues,
                                                                               and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                 $
                                                                               Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
                                                                         27    for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
                                                                               whole life or for any other form of insurance.                                                                   $
                                                                               Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                         28    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                               payments. Do not include payments on past due obligations included in Line 44.                                   $
                                                                               Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                               child. Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                         29
                                                                               employment and for education that is required for a physically or mentally challenged dependent child for
                                                                               whom no public education providing similar services is available.                                                $
                                                                               Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
                                                                         30    on childcare — such as baby-sitting, day care, nursery and preschool. Do not include other educational
                                                                               payments.                                                                                                        $
                                                                               Other Necessary Expenses: health care. Enter the total average monthly amount that you actually
                                                                               expend on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                         31
                                                                               reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                               Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.             $

                                                                                                                                          37
Filed 02/07/13                                                                                                                       Case 13-21651                                                                       Doc 1
                                                                       B22A (Official Form 22A) (Chapter 7) (12/10)
                                                                              Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
                                                                              you actually pay for telecommunication services other than your basic home telephone and cell phone
                                                                         32   service — such as pagers, call waiting, caller id, special long distance, or internet service — to the extent
                                                                              necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                              deducted.                                                                                                                 $
                                                                         33     Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                     $

                                                                                                                 Subpart B: Additional Living Expense Deductions
                                                                                                        Note: Do not include any expenses that you have listed in Lines 19-32

                                                                                Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
                                                                                expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
                                                                                spouse, or your dependents.
                                                                                    a.   Health Insurance                                                $
                                                                                    b.   Disability Insurance                                            $
                                                                         34
                                                                                    c.   Health Savings Account                                          $
                                                                                Total and enter on Line 34                                                                                              $
                                                                                If you do not actually expend this total amount, state your actual total average monthly expenditures in
                                                                                the space below:
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                $
                                                                                Continued contributions to the care of household or family members. Enter the total average actual
                                                                                monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                         35
                                                                                elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                                unable to pay for such expenses.                                                                                        $
                                                                                Protection against family violence. Enter the total average reasonably necessary monthly expenses that
                                                                                you actually incurred to maintain the safety of your family under the Family Violence Prevention and
                                                                         36
                                                                                Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                                confidential by the court.                                                                                              $
                                                                                Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                                Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
                                                                         37
                                                                                provide your case trustee with documentation of your actual expenses, and you must demonstrate
                                                                                that the additional amount claimed is reasonable and necessary.                                                         $
                                                                                Education expenses for dependent children less than 18. Enter the total average monthly expenses that
                                                                                you actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or
                                                                         38     secondary school by your dependent children less than 18 years of age. You must provide your case
                                                                                trustee with documentation of your actual expenses, and you must explain why the amount claimed
                                                                                is reasonable and necessary and not already accounted for in the IRS Standards.                                         $
                                                                                Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                                clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                         39     National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                                www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                                additional amount claimed is reasonable and necessary.                                                                  $
                                                                                Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
                                                                         40
                                                                                cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                     $

                                                                         41     Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40
                                                                                                                                                                                                        $

                                                                       * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




                                                                                                                                               38
Filed 02/07/13                                                                                                                   Case 13-21651                                                       Doc 1
                                                                       B22A (Official Form 22A) (Chapter 7) (12/10)
                                                                                                                     Subpart C: Deductions for Debt Payment

                                                                               Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                               you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
                                                                               Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
                                                                               the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
                                                                               following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
                                                                               page. Enter the total of the Average Monthly Payments on Line 42.
                                                                                                                                                               Average        Does payment
                                                                         42                                                                                    Monthly      include taxes or
                                                                                     Name of Creditor                  Property Securing the Debt              Payment           insurance?
                                                                                a.                                                                         $                     yes    no
                                                                                b.                                                                         $                     yes    no
                                                                                c.                                                                         $                     yes    no
                                                                                                                                            Total: Add lines a, b and c.
                                                                                                                                                                                                 $
                                                                               Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
                                                                               residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                               you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the
                                                                               creditor in addition to the payments listed in Line 42, in order to maintain possession of the property. The
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                               cure amount would include any sums in default that must be paid in order to avoid repossession or
                                                                               foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on a
                                                                               separate page.
                                                                         43                                                                                                   1/60th of the
                                                                                     Name of Creditor                            Property Securing the Debt                   Cure Amount
                                                                                a.                                                                                           $
                                                                                b.                                                                                           $
                                                                                c.                                                                                           $
                                                                                                                                                                Total: Add lines a, b and c.
                                                                                                                                                                                                 $
                                                                               Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims,
                                                                         44    such as priority tax, child support and alimony claims, for which you were liable at the time of your
                                                                               bankruptcy filing. Do not include current obligations, such as those set out in Line 28.                          $
                                                                               Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
                                                                               following chart, multiply the amount in line a by the amount in line b, and enter the resulting
                                                                               administrative expense.
                                                                                a.   Projected average monthly chapter 13 plan payment.                $
                                                                                b.   Current multiplier for your district as determined under
                                                                         45          schedules issued by the Executive Office for United States
                                                                                     Trustees. (This information is available at
                                                                                     www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                     court.)                                                           X
                                                                                c.   Average monthly administrative expense of chapter 13              Total: Multiply Lines a
                                                                                     case                                                              and b
                                                                                                                                                                                                 $
                                                                         46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                        $

                                                                                                                    Subpart D: Total Deductions from Income

                                                                         47    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                       $



                                                                                                                                          39
Filed 02/07/13                                                                                                                       Case 13-21651                                                                       Doc 1
                                                                       B22A (Official Form 22A) (Chapter 7) (12/10)
                                                                                                         Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                         48     Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                     $
                                                                         49     Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                          $
                                                                         50     Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                           $
                                                                                60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
                                                                         51
                                                                                enter the result.                                                                                                          $
                                                                                Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                       The amount on Line 51 is less than $7,025*. Check the box for “The presumption does not arise” at the top of page 1
                                                                                       of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                                                                         52            The amount set forth on Line 51 is more than $11,725*. Check the box for “The presumption arises” at the top of
                                                                                       page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                       the remainder of Part VI.
                                                                                       The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines
                                                                                       53 though 55).
                                                                         53     Enter the amount of your total non-priority unsecured debt                                                                 $
                                                                                Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the
                                                                         54
                                                                                result.                                                                                                                    $
  © 1993-2011 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                       The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at
                                                                                       the top of page 1 of this statement, and complete the verification in Part VIII.
                                                                         55
                                                                                       The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
                                                                                       arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
                                                                                       VII.

                                                                                                                   Part VII. ADDITIONAL EXPENSE CLAIMS
                                                                                Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                                and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                                income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                                average monthly expense for each item. Total the expenses.
                                                                                         Expense Description                                                                                      Monthly Amount
                                                                         56
                                                                                  a.                                                                                                          $
                                                                                  b.                                                                                                          $
                                                                                  c.                                                                                                          $
                                                                                                                                                       Total: Add Lines a, b and c            $

                                                                                                                              Part VIII. VERIFICATION
                                                                                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                both debtors must sign.)

                                                                         57     Date: February 7, 2013                 Signature: /s/ Beverly Jeanette Cowley
                                                                                                                                                                           (Debtor)


                                                                                Date:                                  Signature:
                                                                                                                                                                     (Joint Debtor, if any)




                                                                       * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


                                                                                                                                               40
